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                               UNITED STATES DISTRICT COURT


                                 DISTRICT OF SOUTH DAKOTA

                                       CENTRAL DIVISION



  UNITED STATES OF AMERICA,                                         3:23-CR-30038-RAL


                         Plaintiff,
                                                            OPINION AND ORDER DENYING
                                                                  MOTION TO SUPPRESS
         vs.



  JENNIFER WALSH,

                         Defendant.




         After stopping Defendant Jennifer Walsh for speeding and issuing her a warning, South

 Dakota Highway Patrol Sergeant Austin Schmitz("Sehmitz") ^ extended the traffie stop to await

 arrival of a drug detection dog. After the drug dog alerted, he conducted two separate searches of

 the vehicle, finding seven grams of methamphetamine and then five pounds of methamphetamine

 concealed behind the ear's panels. Walsh moved to suppress evidence obtained from the search

 and statements she made afterward, arguing the prolonged stop and subsequent automobile search

 violated the Fourth Amendment's protection against unreasonable searches and seizures. The

 magistrate judge recommended that Walsh's motion be granted; the United States objected. This

 Court, after reviewing the record de novo and recognizing fully the competing arguments making

 this decision a very close call, sustains the United States' objections. Doc. 68, declines to adopt

 the Report and Recommendation, Doc. 67, and denies Walsh's Motion to Suppress, Doe. 33.

    I.      Factual and Procedural Background



 ^ Schmitz has been promoted to lieutenant, but his official title at the time ofthe stop was sergeant.
                                                   1
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          On Thursday, November 24, 2022, Thanksgiving Day, Schmitz, a trooper for the South

 Dakota Highway Patrol with nearly 14 years of patrol experience at the time, was parked in the

 median of Interstate 90 near the Vivian overpass running radar. Doc. 54 at 11, 19-20. The radar

 clocked a silver SUV traveling eastbound at 84 miles per hour(MPH)—four MPH over the posted

 speed limit. Id at 20-21. As the SUV passed by, Schmitz observed that the car had a salty and

 grimy exterior,^ which to him suggested that the vehicle had recently traveled from outside the

 state. Id at 22; Ex. A at 5. Responding to the traffic violation, Schmitz pulled onto the eastbound

 lane of Interstate 90 and pursued the speeding SUV, though he did not initially activate his

 emergency lights. Doc. 54 at 23. Instead, Schmitz pulled alongside the SUV to better observe the

 vehicle and its driver and run the vehicle's license plate information. Id at 23-24. The SUV's

 license plate came back registered to Juan Carlos Campo from southern California, which caught

 Schmitz's attention given that the driver and lone vehicle occupant he could see was female. Ex.

 A at 5;^Doc. 54 at 24, 29. After finishing his pre-stop evaluation,^ Schmitz dropped back

 behind the vehicle, activated his emergency lights, and conducted the underlying traffic stop. Doc.

 54 at 25-26. The SUV pulled over near mile marker 217. S^ Ex. 1.

        As Schmitz approached the SUV on the passenger side, he observed a second occupant,

 later identified as Andrea Pitts, laying down or sleeping in the back seat amid blankets with

 luggage and other items. Doc. 54 at 26. Schmitz noticed that the front passenger compartment




 ^ The dash camera video (dashcam) of the traffic stop does not show the vehicle's exterior to be
 particularly salty or grimy, though it shows Interstate 90 and the surrounding landscape to be
 devoid ofany snow or wetness and shows the day to be clear. Walsh's SUV was not overtly dirty
 but appeared to have more road grime than other vehicles in central South Dakota that day,judging
 from the dashcam and Schmitz's testimony. Doc. 54 at 25.
 ^ At the suppression hearing, Schmitz testified about how this pre-stop assessment allows him to
 evaluate possible risk factors he may encounter when performing a traffic stop, such as a stolen
 vehicle report. Id. at 24.
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 was full of miscellaneous trash, food items, and elothing, whieh to Schmitz signified "hard

 travel.'"^ Id at 26-27. Through the passenger side window, he talked with Walsh, the driver of

 the SUV,informing her ofthe reason for the stop and requesting her license, registration, and proof

 ofinsuranee. Walsh provided all without incident. Id. at 29-30. Sehmitz neither saw nor smelled

 drugs at the time, but he observed that Walsh appeared overly nervous for a routine traffie stop,

 with shaking hands and "darty eyes." Id at 30, 38, 53. Sehmitz then asked Walsh to aeeompany

 him baek to his patrol car. Id. at 31.

        In the patrol ear,^ Sehmitz ran a lieense and warrant check on Walsh using his computer.

 Id at 32, 36, 87. Meanwhile, Sehmitz began questioning Walsh about the details of her trip. Id

 at 31; Ex. 1 at 00:05:37. Walsh explained that she and Pitts were traveling from "the Bay area" of

 Califomia to Sioux Falls to visit Pitts' mother and to piek up Pitts's son, who had been staying

 with Pitts's mother. Ex. 1 at 00:05:37-00:07:16; see Doe. 54 at 32—33. Walsh added that they

 had to be back to California before Monday because her kid or kids,^ who stayed home with their

 father, had sehool. Doe. 54 at 33; Ex. 1 at 00:07:45. Schmitz found Walsh's story suspicious for

 two reasons: first, given the length of travel involved, the stay seemed uncommonly short for a

 planned holiday trip. Doc. 54 at 33; second, Walsh was traveling without her family on

 Thanksgiving,id Walsh deseribed being caught in bad weather in Wyoming and having to spend



  Sehmitz's suppression hearing testimony described "hard travel" as a praetice common among
 drug traffickers, which involves driving long distances with as few stops as possible to reduce the
 chance ofinteracting with law enforcement. See Doc. 54 at 27. Signs of hard travel include a car
 that looks "lived in." S^ id
 ^ The dasheam captured the eonversation within the patrol car; Schmitz did not wear a body
 camera,so testimony about what Schmitz saw,said, and heard while at the vehicle eomes from his
 testimony at the suppression hearing.
 ® Walsh's statement"my kid's got to go to school" leaves it unclear if she meant"my kids(plural)
 got to go to school" or "my kid's (singular) got to go to school." The dialogue captured by the
 dasheam left it unelear whether Walsh lives with the kid's or kids' father or if there was shared
 custody or visitation.
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 two nights in hotels, however. Ex. 1 at 00:06:03-00:06:31. Schmitz asked Walsh about who

 owned the ear, but Walsh did not say; she simply replied that Pitts borrowed it from a friend. Id.

 at 00:05:45-00:05:50.


         According to Schmitz, Walsh remained overly nervous, spoke rapidly, and exhibited such

 a visibly elevated heart rate that Schmitz could see Walsh's carotid artery pulsate in her neck. Doc.

 54 at 34-35. Walsh's physical appearance also stood out to Schmitz. He described her as having

 "stringy" and "greasy" hair^ and unusually worn, decaying teeth, consistent with heavy drug use.

 Id at 35. Schmitz decided to issue Walsh a warning for traveling 84 MPH in an 80 MPH zone but

 testified,"I believe I had reasonable suspicion that criminal activity was going on" when he issued

 the warning. Id. at 37-39.

        About 11 minutes into the stop, Schmitz printed the warning ticket and handed it to Walsh

 along with her driver's license,insurance,and registration. Id at 60-61. But he did not tell Walsh

 that she was free to go. Id at 36-37. Instead, he advised her that the other part of his job involved

 looking for illegal drugs and contraband. Ex. 1 at 00:11:33. He then asked Walsh when she was

 last around anything illegal and whether she had illegal drugs in the vehicle. Id at 00:11:35-

 00:11:52. Walsh responded that she was last in trouble 20 years ago and that there were no drugs

 in the car. Id at 00:11:56. Schmitz then asked Walsh for consent to search the vehicle to "make

 sure there's nothing illegal." Id at 00:11:56. Walsh did not consent,telling Schmitz that he would

 "have to talk to [Pitts]" because she was the one who borrowed the car. Doc. 54 at 39; Ex. 1 at

 00:12:00.




 ^ The dashcam video shows that Walsh wore her hair up in a somewhat messy bun, but the video
 is not of a sufficient quality to deterpiine the stringiness or greasiness of her hair, or the condition
 of her teeth. Ex. 1 at 00:04:55-00:05:03.
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        Schmitz then exited his patrol car to talk with Pitts. Doc. 54 at 39. As Schmitz

 reapproached the SUV, he observed Pitts laying down again either attempting or pretending to

 sleep. Id at 40. At the suppression hearing, Schmitz explained how passengers will feign sleeping

 when they do not want to interact with law enforcement. Id While talking to Pitts, Schmitz asked

 about the owner of the vehicle, but Pitts could not provide the owner's name, stating instead that

 "[the name is] on that paper back there," presumably referring to the vehicle's registration. Id at

 39. When asked whether she would consent to a search ofthe SUV,Pitts too declined. Id. at 41.

        Schmitz returned to his patrol car and informed Walsh that he planned to call a drug

 detection dog because he had observed things he interpreted as suspicious, though he did not

 expand on what those observations were. Ex. 1 at 00:17:22-00:17:34. The closest drug dog unit

 was Bureau ofIndian Affairs Officer Christopher Moran ("Moran"), who was stationed in Lower

 Brule, about 39 miles from the traffic stop. Doc. 54 at 41-43. Moran's vehicle broke down en

 route to the traffic stop, and he had to call the Lyman County Sheriff to drive him and his canine

 the rest ofthe way. Doc. 54 at 43.

        The report and recommendation concluded that Schmitz's conduct on site had "a quality

 ofpurposefulness and flagrancy" as a part ofa"calculated plan to investigate and procure evidence

 against Walsh and Pitts and to arrest them on something." Doc. 67 at 16. One of the various

 reasons listed for that conclusion was:

        Schmitz failed to heed to Walsh's pleas or accommodate her dire need to urinate
        (even in her own container) until after she already went in her pants, something she
        had never done before. She also needed to change her tampon. Schmitz was
        outside his vehicle for part ofthe time, talking on the phone and checking how far
        out the drug dog was, but within earshot of Walsh. He could have taken her to a
        bathroom, only a few miles away, but did not do so.

 Id at 17; see also id. at 2. The dashcam audio first captures Walsh mentioning her need to urinate

 when Schmitz was not within earshot but was outside his patrol car asking Pitts for permission to
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 search the vehicle. Ex. 1 at 00:16:21. When Schmitz returned to the vehicle, Walsh asked him if

 it was "against the law to pee outside here," to which Schmitz responded,"not really but kinda."

 Id. at 00:16:36-00:16:41. Schmitz then informed Walsh about his intention to call a drug dog

 because "I'm just kind ofseeing some things I don't like." Id, at 00:17:34-00:18:21. Schmitz left

 the patrol car to do so, during which Walsh is heard again on the dashcam video repeatedly saying

 that she had to "pee, pee, pee." Id,at 00:18:59. Upon Schmitz returning to the patrol car, Walsh

 reiterated that she needs to pee and has a portable urinal in her car. Id, at 00:20:43-00:21:33.

 Schmitz responded,"Okay. Let me see if I can get someone to run you up to the gas station up

 here." Id, at 00:21:36. Walsh about seven seconds later said that she peed her pants and has to

 change her tampon. Id,at 00:21:43-00:21:46. Schmitz then let Walsh rejoin Pitts in the SUV and

 use their portable urinal, and Walsh was out of the patrol car within seven minutes of when she

 first asked Schmitz if it was legal to pee outside. Id,at 00:16:36(Walsh's first mention to Schmitz

 ofneeding to pee), 00:22:45(Walsh leaving patrol car). Schmitz kept a respectful distance during

 the approximately six minutes while Walsh was back in the SUV. Id, at 00:23:00-00:29:00.

 Walsh was wearing grey sweats, did not change out ofthe grey sweats, and no wetness ofher pants

 is visible on the dashcam video as she walks to her SUV to use the portable urinal or back from

 her SUV to the patrol car. Id,at 00:22:45-00:23:00.

        While awaiting Moran's arrival, Schmitz continued to investigate his suspicions. Doc. 54

 at 83, 86. He conducted a Triple-I background check on both Walsh and Pitts and ran their

 information through the El Paso Intelligence Center (EPIC). Id, at 83, 86. Schmitz also

 reapproached the SUV to verify that the Vehicle Identification Number(VIN)on the car matched

 the VIN recorded on the vehicle's registration. Id, at 45. While looking into the car for the first

 time from the driver's side window, Schmitz observed in the front passenger door cup holder what
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 he believed to be a "bubbler," a bong used to smoke metbampbetamine, although be was not"100

 percent sure" because be "couldn't quite clearly see it enough." Id; Ex. A at 15. He later saw

 that it was in fact a metbampbetamine bong when, shortly before Moran arrived, be bad Pitts and

 Walsh open the front passenger door to roll up the windows in preparation for the dog sniff. Doc.

 54 at 46. Scbmitz chose not to rely on the bong's presence as cause to search the SUV because

 the drug dog was close by then, be did not want to "muddy the waters," and the dog sniff would

 provide "better probable cause." Id at 91-92.

        Moran and bis dog arrived on scene about one hour and seventeen minutes into the traffic

 stop—almost an hour and five minutes after Scbmitz banded Walsh the warning. Id at 66.

 Moran's dog indicated to the presence of drug odor emanating from within the vehicle. Id at 47.

 Scbmitz and Moran searched the vehicle and discovered a small baggie containing seven grams of

 metbampbetamine within Walsh's purse. Id at 47—48; Ex. 4 at 12. While searching the rear of

 the vehicle, Scbmitz noticed what he described as "tool markings," or irregular markings consistent

 with the repeated removal of a vehicle's interior panels. Doc. 54 at 48. The officers transported

 the vehicle from the roadside to a state auto shop for a more thorough search. Ex. A at 17. This

 second search revealed five pounds of metbampbetamine behind the "back passenger side quarter

 panel." Doc. 54 at 48. The packages of metbampbetamine were covered in axle grease, a

 technique used for masking scent. Id at 48-49. The search also revealed a pipe, checks, two

 cellphones, a drug ledger, and $1,179 in cash. Ex. A at 20-21.

        Both Pitts and Walsh were arrested on state drug charges and transported to the Brule

 County Jail. Doc. 62 at 10. The next day. Trooper Dylan Dowling ("Dowling"), an investigator

 with the FBI Northern Plains Safe Trails Drug Task Force, and BIA Officer Derek Parish

 ("Parish") interviewed Walsh at the jail. Id After confirming some biographical information.
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 Dowling read Walsh her Miranda rights and elaborated on her right to end the interview at any

 point:

          One ofthe things [the warnings] don't talk about is like we can have a conversation
          here today ... if there is something that you don't want to talk about, you just say
          "hey I don't want to answer that." If at any point in time you just want to end the
          conversation just let us know, we will get you back to your cell[.]

 Ex.4 at 4. About midway through the interview, Dowling told Walsh,"I'm not gorma beat around

 the bush on this, we don't come out for a simple little meth — couple of grams." Id at 11. He

 proceeded to ask what she knew about the five pounds of methamphetamine. Id at 12. Walsh

 responded that she "[had] no clue" and admitted to having only seven grams in her purse. Id

 Dowling added that"this is easily 10 years federally." Ex.4 at 14. Walsh then ended the interview.

 Id at 15.


          Later that evening, Schmitz forwarded Dowling a voicemail he had received from Walsh's

 significant other. Doc.62 at 21. The voicemail advised that Walsh would like to speak again with

 Dowling and Parish, and a few days later, Dowling and Parish returned to the Brule County Jail to

 interview Walsh a second time. Id Dowling once again advised Walsh of her Miranda rights

 before the interview and Walsh proceeded to make statements. Id. at 23.

          In March 2023, a federal grand jury indicted Pitts and Walsh for conspiracy to distribute a

 controlled substance and possession with intent to distribute a controlled substance. Doc. 1. Walsh

 filed the present motion to suppress to exclude evidence seized from the SUV and her subsequent

 statements. Doc. 33. The magistrate judge held two evidentiary hearings on Walsh's motion and

 issued a report and recommendation. Doc. 67, recommending that Walsh's motion be granted in

 its entirety. The United States objected to several of the magistrate judge's findings and

 conclusions. Doc. 68.
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     II.       Standard of Review


            When a party objects to a magistrate judge's report and recommendation, a district court

 judge must "make a de novo determination of those portions of the report or specified proposed

 findings or recommendations to which objection is made." 28 U.S.C. § 636(b)(1). The district

 court judge "may accept, reject, or modify, in whole or in part, the findings or recommendations

 made by the magistrate judge." Id

     III.      Discussion


           Neither party disputes the validity ofthe traffic stop. Walsh's speeding violation provided

 Schmitz with probable cause that a traffic violation had occurred. See United States v. Rederick.

 65 F.4th 961, 965 (8th Cir. 2023)(stating that a traffic stop is reasonable at its inception if the

 officer making the stop had probable cause that a traffic violation occurred). The parties also agree

 that the mission of the traffic stop—addressing the speeding violation—concluded when Schmitz

 handed Walsh the warning citation along with her license, insurance, and registration. United

 States V. Navarette. 996 F.3d 870, 874(8th Cir. 2021)(stating that a traffic stop, although valid at

 its inception,"may nonetheless violate the Fourth Amendment if it lasts longer than necessary to

 effectuate" the mission of the stop); Rodriguez v. United States. 575 U.S. 348, 354 (2015)

(explaining that the mission of a traffic stop is "to address the traffic violation that warranted the

 stop, and attend to related safety concerns" (internal citations omitted)). Thus, the issue here is

 whether Schmitz had "articulable, reasonable suspicion" that the defendants were engaged in

 unlawful activity to justify extending the traffic stop to await a drug detection dog.

           The report and recommendation determined that Schmitz's suspicions were "inchoate

 rather than reasonable" and lacked something "specific and revealing (such as impairment, drugs

(or odors ofthem),paraphernalia, or troublesome information from status checks)to tie Walsh and
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  Pitts to any wrongdoing." Doc.67 at 11. Objecting to the report and recommendation,the United

  States asserts that Schmitz, informed by his training and experience, developed reasonable

  suspicion that criminal activity was afoot, and in fact Schmitz testified about what prompted him

  to believe he had reasonable suspicion to prolong the stop. Ifthe report and recommendation had

  concluded that Schmitz's testimony was not credible, this Court likely would adopt the

  recommendation to grant the motion to suppress. The dashcam video and audio corroborates parts

  of Schmitz's testimony, though does not show images of the SUV's interior or close enough

 images of Walsh to corroborate all of Schmitz's testimony. This Court is left in the awkward

  position of choosing between whether to credit the instincts of a 14-year highway patrol veteran^

  or adopt the recommendation of an even more experienced magistrate judge with an outstanding

  history of deciding these issues correctly.   Although certainly fairly debatable, this Court finds

 just enough indicia to support a reasonable suspicion of illegal activity under Eighth Circuit

  precedent, concluding that Schmitz's suspicions were not merely "inchoate rather than

 reasonable."


         "Under the Fourth Amendment, an officer may not extend a traffic stop longer than 'the

 time needed to handle the matter for which the stop was made' unless he has reasonable suspicion

 of criminal activity." United States v. Pacheco. 996 F.3d 508, 511 (8th Cir. 2021) (quoting

  Rodriguez. 575 U.S. at 350). "Reasonable suspicion requires an officer to have a 'particularized



 ^ Schmitz's training and experience in drug interdiction is extensive. He started working for the
 South Dakota Highway Patrol in 2009. Doc. 54 at 11. In 2011 he became a handler for a drug
 detection dog, a position he held until 2019. Id at 13. As a canine handler, Schmitz attended a
 six-week initial training camp. Id at 11. To maintain his certification, he completed 16 hours of
 training every two weeks. Id at 13. Schmitz has also attended trainings on his own accord. He
 has attended three week-long conferences put on by the National Interdiction Conference, a
 weeklong DIAP class for interdiction oflarge trucks, and two 40-week courses known as "Desert
  Snow." Id at 12. And at the time of the underlying traffic stop, Schmitz oversaw the "westem
  half ofthe state's police service dog program." Id. at 13.
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 and objective basis for suspecting legal wrongdoing based upon his own experience and

 specialized training.'" Id (quoting United States v. Jones.606 F.3d 964,965-66(8th Cir. 2010));

 see also United States v. Maltais. 403 F.3d 550, 555 (8th Cir. 2005)("In forming a basis for

 suspicion, officers may draw on their own experience and specialized training to make inferences

 from and deductions about the cumulative information available to them." (internal quotation

  marks omitted) (quoting United States v. Ortiz-Monrov. 332 F.3d 525, 529 (8th Cir. 2003))).

 Reasonable suspicion is a low bar. "[T]he likelihood of criminal activity need not rise to the level

 required for probable cause, and it falls considerably short of satisfying a preponderance of the

 evidence standard." Pacheco.996 F.3d at 511-12(quoting United States v. Arvizu, 534 U.S. 266,

 274(2002)). Like probable cause, reasonable suspicion,"is not'readily or even usefully, reduced

 to a neat set of legal rules.'" United States v. Sokolow. 490 U.S. 1, 7(1989)(quoting Illinois v.

  Gates. 462 U.S. 213. 232(1983)).^

           Still, reasonable suspicion requires more than "a mere himch,"Pacheco.996 F.3d at 511,

  or an "inchoate and unparticularized suspicion," United States v. Lebrun. 261 F.3d 731, 733 (8th



 ^ In wrestling with the elusive standard that is reasonable suspicion, the Supreme Court of the
  United States provided some helpful guidance:
         First, the assessment must be based upon all the circumstances. The analysis
         proceeds with various objective observations, information from police reports, if
         such are available, and consideration of the modes or patterns of operation of
         certain kinds of lawbreakers. From these data, a trained officer draws inferences
         and makes deductions—inferences and deductions that might well elude an
         untrained person.
         The process does not deal with hard certainties, but with probabilities. Long before
         the law of probabilities was articulated as such, practical people formulated certain
         common sense conclusions about human behavior; jurors as factfinders are
         permitted to do the same—and so are law enforcement officers. Finally, the
         evidence thus collected must be seen and weighed not in terms of library analysis
         by scholars, but as understood by those versed in the field oflaw enforcement.
  United States v. Cortez. 449 U.S. 411, 418 (1981); see also Sokolow. 490 U.S. at 7-8 (quoting
  Cortez to reverse the Ninth Circuit's attempt to "refine and elaborate the requirements of
 'reasonable suspicion'").
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  Cir. 2001)(cleaned up and citation omitted). In deeiding whether an officer's suspieions are

 objeetively reasonable, this Court must eonsider the totality ofcircumstances, keeping in mind that

 seemingly "innocent faets, when eonsidered together, ean give rise to reasonable suspieion." Id at

 733.


         The Eighth Cireuit's ease law acknowledges the validity ofthe factors that Schmitz deemed

 to have provided him reasonable suspicion that criminal activity was afoot to prolong the stop to

 await arrival ofa drug detection dog. First, Schmitz testified that the vehiele had a "lived-in look,"

  which suggested to him that Walsh and Pitts were "traveling hard" and attempting to make as few

 stops as possible. Schmitz testified that the passenger compartment was full of food, blankets,

 elothes, luggage, and trash. The Eighth Circuit has repeatedly "found reasonable suspicion to

 extend a traffic stop in part because of a vehicle's lived-in look." Pacheeo. 996 F.3d at 512; see

  also United States v. Bowman,660 F.3d 338, 345 (8th Cir. 2011)(listing the ear's "lived-in look"

 among the observations giving rise to reasonable suspicion); United States v. Mavo.627 F.3d 709,

 714(8th Cir. 2010)(findingprobable cause to seareh a minivan in part because of van's "lived-in

 look"); Lebmn, 261 F.3d at 733 (finding reasonable suspicion based in part on offieer's

  observation ofdrink eontainers,food wrappers,eell phone,pillows, and blankets and the inferenee

  that the oceupants were traveling without making any stops).

         The multitude ofitems Sehmitz observed in the passenger eompartment also distinguishes

  this case firam United States v. Beck. 140 F.3d 1129, 1137 (8th Cir. 1998). In Beck, the Eighth

  Circuit held that the mere presenee of"fast-food wrappers"—something "entirely eonsistent with

  innoeent travel"—"cannot reasonably be said to give rise to suspieion of eriminal activity" absent

  some "eontradictory information," because, as the Beek eourt recognized, fast-food wrappers

  along are "ubiquitous" in interstate travel. See 140 F.3d at 1138 (quoting Kames v. Skrutski, 62


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 F.3d 485,496(3d Cir. 1995)). Schmitz acknowledged that food containers in vehicles are common

 for motorists irmocentiy engaged in interstate travel. Doc. 54 at 55. What distinguishes Beck is

 that the officer "offered no basis for his supposition" that fast-food trash distinguishes drug

 traffickers from irmocent travelers. Beck. 140 F.3d at 1138-39. Here, Schmitz testified about

 other signs of"hard travel" and why drug traffickers engage in hard travel.     Doc. 54 at 27-28.

        Second, Walsh appeared to Schmitz to be unusually nervous through the whole traffic stop.

 Excessive or unusual nervousness can support reasonable suspicion to extend a traffic stop.

 Pacheco. 996 F.3d at 512-13 (explaining that Beck "does not foreclose relying on a defendant's

 unusual or extreme nervousness to find reasonable suspicion"). "[E]xtreme and unusually nervous

 behavior observed in conjunction with only one or two other facts can generate reasonable

 suspicion that criminal activity is afoot." United States v. Jones.269 F.3d 919,928(8th Cir. 2001).

 The Eighth Circuit has "previously found reasonable suspicion to extend a traffic stop where a

 person exhibited 'unusual nervousness even after [the officer] advised [him] that he was issuing

 only a waming.'" Pacheco.996 F.3d at 512(alterations in original)(quoting United States v. Fuse.

 391 F.3d 924,929(8th Cir. 2004)); see also Lebrun. 261 F.3d at 733-34. A visibly elevated heart

 rate can contribute to a finding of unusual nervousness. See United States v. Rilev. 684 F.3d 758,

 763 (8th Cir. 2012)(finding defendant "exhibited imdue nervousness in the form of a visibly

 elevated heart rate, shallow breathing, and repetitive gesticulations"). Upon Schmitz's initial

 encounter with Walsh, he observed that she had "darty eyes" and shaky hands and appeared

 "overly nervous compared to most traffic stops." Doc. 54 at 30. Even after learning that she would

 be receiving a waming instead of a ticket, Walsh continued to display signs of excessive

 nervousness. Id. at 34-35. At the suppression heeiring, Schmitz explained how Walsh had an




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 elevated heart rate and that he could see her neck arteries pulsing. Id. at 35. He also testified that

  Walsh talked rapidly and tried to control the conversation by changing the subject. Id. at 34.

         Third, Schmitz found Walsh's travel plans suspicious and unusual when compared with

 the general motoring public. "[RJeasonable suspicion [can] derive from unusual or suspicious

 travel plans." Rilev.684 F.3d at 764(cleaned up and citation omitted!: see Beck, 140 F.3d at 1139

 (explaining that"unusual or suspicious travel plans may give rise to reasonable suspicion")(citing

 United States v. Kopp. 45 F.3d 1450, 1453 (10th Cir. 1995)(finding reasonable suspicion based

 on suspicious travel plans, nervousness, and inconsistent answers)). "To make such a long trip—

 only to stay at the destination for such a short amount oftime—is also consistent with the behavior

 ofa drug courier." United States v. Batara-Molina.60 F.4th 1251,1257(10th Cir. 2023)(citations

 omitted). Although Walsh did not struggle to answer Schmitz's questions about destination or

 purpose, her stated travel plans cast"doubt on the nature and legitimacy" ofher trip. See generallv

 Jones. 269 F.3d at 924 (providing that inconsistent answers to questions about destination and

 purpose may "cast[] suspicion and doubt on the nature and legitimacy of the activity being

 investigated"). The stop occurred in the afternoon ofThursday,November 25,2022,Thanksgiving

 Day. Walsh told Schmitz that they were traveling from California's bay area to Sioux Falls. Ex.

  1 at 00:05:25. According to Walsh, this trip takes about 24 hours of drive time. And given the

 location of the stop, they still had a couple more hours to drive, meaning they would not get to

 Sioux Falls imtil Thursday night. Walsh also told Schmitz that she had to be back in California

 before Monday because her kid or kids, who stayed home with their father, had school.

         As Schmitz noted while testifying, that left very little time to stay. To make it back by

  Monday,they would have to leave for California by Saturday evening at the very latest, but that

 assumes 24 hours ofstraight driving, an unlikely scenario given that Walsh had been the sole driver


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 up to that point and found the trip "very tiring." Ex. 1 at 00:05:50-00:06:00. Ifthey took the two

 hotel stops that they took on the drive to Sioux Falls/® their stay in South Dakota would be a single

 day (Friday). See Batara-Molina. 60.F.4th at 1257-58 (concluding that defendant's two-day stay

 in Sioux Falls after driving from California was suspiciously short and supported a finding of

 reasonable suspicion). Schmitzfound the short stay suspicious because it is unusual for individuals

 to drive across the country to visit family only to turn around and drive all the way back a day

 later. Doc. 54 at 33-34. Additionally, Schmitz found it unusual that a mother would leave her

 family over a long holiday weekend to drive across the country. He testified that "it was another

 indicator that normally I don't see." Id. at 79.

        Fourth, the vehicle was registered to an absent third party. Reasonable suspicion may be

 based, at least in part, on an absent third-party vehicle owner/registrant. Fuse. 391 F.3d at 929

 (recognizing that a car not belonging to either of the vehicle's occupants was a fact contributing

 to reasonable suspicion); United States v. Gilrov St. Patrick Stewart.92 F.4th 461,469-70(3d Cir.

 2024)(holding that the use of car registered to an absent third party is a factor contributing to

 reasonable suspicion);^Ratara-Molina.60 F.4th at 1257(noting that use ofa third-party car was

 properly considered suspicious). Schmitz testified that the use a third-party vehicle for a cross

 country trip was another indicator of criminal activity. Doc. 54 at 77, 82. Moreover, when asked

 who owned the car, neither Walsh nor Pitts could or would provide a name. Ex. 1 at 00:05:47;^

 Doc. 54 at 30. To Schmitz,this was a "big red flag." Doc. 54 at 77(testifying that "it's very, very

 rare that I stop anybody that doesn't know whose vehicle it is").



    In faimess, Walsh does tell Schmitz that they were late and intended to arrive before
 Thanksgiving but had to take two hotel stops for inclement weather. Ex. 1 at 00:05:59-00:06:30.
 These statements seem to suggest that the two had left California on Tuesday and intended to drive
 straight through taking as few as stops as possible, which would also appear to bolster Schmitz's
 suspicion of"hard travel."
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         Finally, Walsh's physical appearance reflected persistent use of hard drugs. Signs or

  symptoms of drug use, such as rotting teeth, can be a fact within the totality of circumstances

  giving rise to reasonable suspicion.      United States v. Betts. 88 F.4th 769, 774-75 (8th Cir.

  2023). Although overly worn and decaying teeth could also just be an innocent dental problem,

  this Court must "view an officer's observations through their own eyes, since they are 'trained to

  cull significance from behavior that would appear innocent to the untrained observer.'" Ifr at 775

 (quoting United States v. Poitier. 818 F.2d 679, 683 (8th Cir. 1987)). Thus, Walsh's personal

  appearance contributes, however slightly, to the existence ofreasonable suspicion.

         Reasonable suspicion "only requires that police articulate some minimal, objective

 justification" for a stop. Fuse. 391 F.3d at 929; see also Sokolow. 490 U.S. at 7. In some cases,

 "there could, of course, be circumstances in which wholly lawful conduct might justify the

  suspicion that criminal activity was afoot." Sokolow. 490 U.S. at 9(quoting Reid v. Georgia, 448

  U.S. 438,441 (1980)(per curiam)). Each fact may on its own be entirely innocent. Id; Fuse. 391

  F.3d at 929. But "an officer's 'reasonable suspicion cannot be defeated by a so-called "divide-

  and-conquer" analysis.'" Gilrov St. Patrick Stewart. 92 F.4th at 468 (quoting United States v.

  Green. 897 F.3d 173,183(3d Cir. 2018)). "[I]n some circumstances the sum may amount to more

 than its parts." Rilev. 684 F.3d at 764 (alteration in original)(quoting Jones. 269 F.3d at 929).

 Therefore, based on the totality ofthe specific and articulable facts Schmitz observed, along with

 the "rational inferences [drawn] from those facts," Jones. 269 F.3d at 927, this Court finds that

  Schmitz had reasonable suspicion to extend the traffic stop.

         Furthermore, "there is no per se time limit on all traffic stops." Rilev. 684 F.3d at 765

 (quoting United States v. Peralez. 526 F.3d 1115, 1119 (8th Cir. 2008)). "[Ujnder the proper

 circumstances, [the Eighth Circuit] ha[s] considered delays for dog-sniffs far in excess of 90


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 minutes reasonable." Id (first alteration in original)(quoting United States v. Donnelly. 475 F.3d

 946, 953-54 (8th Cir. 2007)); see, e.g.. Maltais. 403 F.3d at 557-58 (finding three-hour delay

 reasonable when stop occurred in a remote location and officers "acted with diligence and pursued

 the quickest and least intrusive means of investigation reasonably available"). Whether the delay

 for a dog sniff was reasonable depends on whether the officer "acted diligently to obtain the dog"

 and the delay was not within his or her control. See United States v. White. 42 F.3d 457,460(8th

 Cir. 1994)(concluding that 80-minute detention awaiting drug dog was reasonable because officer

 "acted diligently to obtain the dog, and the delay was caused only by the remote location of the

 closest available dog").

         Here, the length of delay was largely out of Schmitz's control. After both Walsh and Pitts

 denied permission to search the SUV, Schmitz promptly called for the nearest drug dog, which

 was 39 miles away. Ex. 1 at 00:17:34; Doc. 54 at 41^3. While en route to the traffic stop,

 Moran's vehicle suffered a mechanical failure, and he had to call the Lyman County Sheriffs

 Office to drive him the rest of the way. Doc. 54 at 43. This stop occurred on Thanksgiving Day

 and in rural central South Dakota, so the number and proximity of available drug detection dogs

 was likely lower than it otherwise may have been. In short, none ofthe factors contributing to the

 approximately one hour wait for the drug dog to arrive were avoidable or the result of a lack of

 diligence from Schmitz or Moran.

         Because this Court determines that Schmitz had reasonable suspicion to extend the traffic

 stop, this Court need not decide whether Walsh's statements to Officers Dowling and Parish were

 fiaiit of a poisonous tree.

    IV.      Conclusion


             For the reasons addressed above, it is



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         ORDERED that the Government's Objections to Report and Recommendation for

  Disposition of Motion to Suppress, Doc. 68, are sustained, and this Court declines to adopt the

  Report and Recommendation for Disposition of Motion to Suppress, Doc. 67. It is further

         ORDERED that Defendant's Motion to Suppress, Doc. 33, is denied.


         DATED this        day of May,2024.

                                             BY THE COURT:




                                             ROBERTO A. LANGE
                                             CHIEF JUDGE




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